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                                                             March 17, 2023
BY ECF

The Honorable Katharine H. Parker
United States Magistrate Judge
Southern District of New York
500 Pearl Street, Room 750
New York, New York 10007

       Re:     City of Almaty, Kazakhstan, et ano. v. Felix Sater, et al.,
               Case No. 19 Civ. 2645 [rel. 15 Civ. 5345] (JGK) (KHP)

Dear Judge Parker:

        We represent Plaintiffs City of Almaty, Kazakhstan and BTA Bank and write in
accordance with the Court’s February 16, 2013 order to provide a status update on discovery
since the last conference before Your Honor. [ECF No. 449.]

        The Court had ordered that (1) fact discovery be extended to March 17 with respect to the
30(b)(6) depositions of BTA and defendant MeM Energy Partners LLC, (2) MeM Energy
“search for and produce any broker/commission agreement regarding the Tri-County Mall
transaction prior” to its deposition, (3) “any motions to compel regarding document/interrogatory
responses” be filed by February 23, and (4) that the parties shall not be precluded from obtaining
and utilizing the testimony of Ilyas and Leila Khrapunov to the extent such testimony is obtained
prior to trial. The Court ordered that affirmative expert reports be exchanged by April 17. Id.

       BTA Bank

        BTA Bank made its corporate representative available to be deposed by Defendant Felix
Sater, but Mr. Sater elected not to proceed with the deposition.

       MeM Energy

        On February 20, Plaintiffs asked MeM Energy’s counsel to propose dates for its 30(b)(6)
deposition. Plaintiffs proposed the week of March 6. After Plaintiffs followed up a second time,
MeM Energy’s counsel explained that there were scheduling conflicts in March and asked
whether March 21 would work. We explained that this was after the March 17 deadline, but that
we would not object to an application to the Court by MeM Energy to make its witness available
after the deadline. Alternatively, we proposed to break MeM Energy’s deposition up over
multiple sessions if that would enable the parties to complete the deposition by March 17.
Ultimately, MeM Energy’s counsel offered a three-hour window for the deposition on March 17.
Plaintiffs maintained their objection to carrying the deposition over past March 17 but
nonetheless deposed MeM Energy for approximately three hours today. MeM Energy’s counsel
represented on the record that MeM Energy would not raise an objection to continuing the
deposition on March 21 or the soonest thereafter when all counsel and the witness can be
available. Plaintiffs do not anticipate there will be any dispute concerning the completion of this
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deposition, which should not require more than two hours of examination time.

      MeM Energy did not supplement its document production with any broker/commission
agreement regarding Tri-County Mall.

        MeM Energy moved by the February 23 deadline to compel further responses from
Plaintiffs to certain of MeM Energy’s document demands and interrogatories. Plaintiffs opposed
the motion, and by Opinion and Order dated March 14, Your Honor denied the motion.

       Swiss Depositions of the Khrapunovs

        As Plaintiffs explained during the February 16th conference, the Geneva court issued a
decision overruling the Khrapunovs’ general objection to the depositions but giving the
Khrapunovs until February 27, 2023, to raise specific question-by-question objections. On March
3, 2023, Plaintiffs received correspondence from the Geneva court indicating that the
Khrapunovs appealed the decision overruling their objections to the depositions. The lower court
has since adjourned the depositions pending the appeal, and Plaintiffs have requested the Swiss
court expedite the appeal.

       We thank the Court for its attention to these matters.

                                                     Respectfully,

                                                     /s/ Craig Wenner
                                                     Craig Wenner




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